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                    UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF NEW JERSEY


   In re                                                Chapter 11
                                                        Case No. 21-30589-MBK
   LTL MANAGEMENT, LLC,
                                                        Judge Michael B. Kaplan

                             Debtor.                    Hearing Date: February 18, 2022
                                                        Hearing Time: 10:00 a.m.

    OBJECTION OF THE UNITED STATES OF AMERICA TO DEBTOR’S
     MOTION FOR AN ORDER AUTHORIZING ESTABLISHMENT OF A
    QUALIFIED SETTLEMENT FUND FOR PAYMENT OF TALC CLAIMS


       The United States of America, on behalf of the Department of Health and

 Human Service (“HHS”), Centers for Medicare & Medicaid Services (“CMS”), and

 the Indian Health Service (“IHS”), hereby objects to the Debtor’s Motion for an

 Order Authorizing Establishment of a Qualified Settlement Fund for Payment of
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 Talc Claims (“Motion”) (ECF No. 8). In support thereof, the United States

 respectfully represents as follows:

                                        FACTUAL BACKGROUND

            1.       LTL Management LLC (“Debtor”) filed a voluntary petition under

 chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) on October

 14, 2021 (the “Petition Date”) [ECF Doc. No. 1].

            2.       On the Petition Date, the Debtor also filed the Motion seeking

 approval for “the establishment and funding of a North Carolina trust (the ‘QSF

 Trust’) that will constitute a ‘qualified settlement fund’ to resolve or satisfy current

 and future talc-related claims asserted against or related to the Debtor but

 excluding any such claims pursuant to which amounts will be paid or incurred to, or

 at the direction of, any government or governmental entity (collectively the ‘QSF

 Talc Claims’) upon the terms set forth in the trust agreement.” Motion at 1

 (footnote omitted).1 The proposed Trust Agreement establishing the QSF Trust is

 attached to the Motion as Exhibit A.

            3.       Debtor is seeking to establish and fund the QSF Trust pursuant to the

 prepetition Funding Agreement. Motion at ¶¶ 5-7. Under the Funding Agreement,

 nondebtor affiliates (New JJCI and J&J) are obligated, on a joint and several basis,

 to provide funding, up to full value of New JJCI, to (a) pay all of the Debtor’s costs

 and expenses including the costs of administering the Debtor’s bankruptcy and (b)



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     Terms not defined herein shall have the meaning ascribed to them in the Motion.
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 fund amounts necessary to satisfy the Debtor’s talc-related liabilities. Id. Neither

 the Motion, the proposed Trust Agreement nor the Funding Agreement define the

 amount of “the full value of New JJCI.”

        4.    Specifically, the Motion seeks authority to advance $2 billion under the

 Funding Agreement into the QSF Trust to resolve or satisfy the QSF Talc Claims in

 order “to promote a prompt resolution of this case and avoid unnecessary litigation

 regarding any alleged harm suffered by claimants as a result of the 2021 Corporate

 Restructuring.” Id. at ¶ 7.

        5.    The proposed Trust Agreement defines Talc Claim as meaning

 “current and future talc-related claims asserted against or related to [the Debtor]

 LTL” but specifically “excluding any such claim pursuant to which amounts will be

 paid or incurred to, or at the direction of, any government or governmental entity

 (as defined in Treas. Reg. § 1.162-21(e)).” Motion, Ex. A at 18.

        6.    Section 1.162-21(e) of title 26 of the Code of Federal Regulations

 defines (a) government as including the United States and (b) governmental entity

 as meaning a corporation or other entity serving as an agency or instrumentality of

 a government. 26 C.F.R. §1.162(e)(1) and (2).

        7.    Despite seeking authority for the nondebtor affiliates to fund the QSF

 Trust now, those funds will not be available to the Debtor to address QSF Talc

 Claims until the effective date of a confirmed plan, Motion at ¶ 11, which does not

 yet exist.


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                            STATUTORY BACKGROUND

       Medicare Secondary Payer Liability

       8.     The Medicare program pays for covered medical items and services

 provided to eligible beneficiaries. 42 U.S.C. § 1395, et seq. The Medicare Secondary

 Payer (“MSP”) law, 42 U.S.C. § 1395y(b), prohibits Medicare from paying for items

 and services in instances when payment has been made or can reasonably be

 expected to be made by a “primary plan.” 42 U.S.C. § 1395y(b)(2)(A). The MSP law

 broadly defines “primary plan” to include group health plans, a workmen’s

 compensation law or plan, an automobile or liability insurance policy or plan

 (including a self-insured plan), and no fault insurance. Id. Payments made by a

 trust approved as part of a chapter 11 plan are “primary” to Medicare and trigger

 obligations under the MSP law. See 42 U.S.C. § 1395y(b)(2)(B); Humana v. Shrader

 & Assoc., 584 B.R. 658, 680-81 (S.D. Tex. 2018). The MSP statute also provides the

 United States a direct right of action against entities that are responsible for

 making a primary payment and any entity that receives a primary payment. 42

 U.S.C. § 1395y(b)(2)(B)(iii).

       9.     If a primary plan is not expected to pay an eligible beneficiary promptly,

 Medicare is authorized to make “conditional payments.” These payments are subject

 to reimbursement once a primary plan becomes responsible for paying for the item

 or service at issue. 42 U.S.C. § 1395y(b)(2)(B)(i)-(ii). A plan’s responsibility for


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 payment may be “demonstrated by a judgment, a payment conditioned upon the

 recipient’s compromise, waiver, or release (whether or not there is a determination

 or admission of liability) of payment for items or services included in a claim

 against the primary plan or the primary plan’s insured, or by other means.” 42

 U.S.C. § 1395y(b)(2)(B)(ii).

       10.    To help Medicare coordinate payments for Medicare-covered items and

 services, and to identify MSP situations, an “applicable plan” must identify

 instances in which it has or may have responsibility to pay for medical care of a

 Medicare beneficiary and report that information to Medicare. 42 U.S.C. §

 1395y(b)(7)-(8); see also Medicare, Medicaid and SCHIP Extension Act of 2007, 2

 Pub. L. No. 110-173, § 111, 121 Stat. 2492, 2497-500 (2007). Similar to entities that

 are primary plans, an “applicable plan” includes as liability insurance (including

 self-insurance), no-fault insurance, workers’ compensation laws or plans, and the

 fiduciary or administrator under such a law, plan, or arrangement. 42 U.S.C. §

 1395y(b)(8)(F). The information to be reported by or on behalf of the applicable plan

 includes the identity of the Medicare beneficiary, and other pertinent information

 such as the injury or illness that gave rise to the beneficiary’s claim against the

 plan, and the amount of the payment made or to be made by the plan. 42 U.S.C. §

 1395y(b)(8)(B).




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       Additional Recovery Rights

       11.    Under the Federal Medical Care Recovery Act (FMCRA), the United

 States has a direct recovery right for medical care it provides to a person injured

 under circumstances that “creat[e] a tort liability upon some third person . . . to pay

 damages therefor.” 42 U.S.C. § 2651(a); United States v. Merrigan, 389 F.2d 21, 21

 (3d Cir. 1968) (“Subsection (a) of the Medical Care Recovery Act unmistakably

 confers on the [G]overnment what the congressional reports describe as an

 ‘independent right of recovery’ from the tortfeasor of the reasonable value of the

 care and treatment it furnishes to the injured person.”). The FMCRA applies to

 non-military direct health care programs furnished by HHS through its various sub-

 agencies and operating divisions. See United States v. Trammel, 899 F.2d 1483,

 1486-87 (6th Cir. 1990); United States v. Fort Benning Rifle and Pistol Club, 387

 F.2d 884, 885 (5th Cir. 1967); Maddox v. Cox, 382 F.2d 119, 123-24 (8th Cir. 1967).

       12.    The Indian Health Care Improvement Act (IHCIA) provides IHS a

 second right of direct recovery from third-party tortfeasors. See 25 U.S.C. § 1621e.

 Pursuant to the IHCIA, the United States has “the right to recover from . . . third-

 party tortfeasors . . . the reasonable charges billed by the Secretary . . . in providing

 health services through the Service . . . , or, if higher, the highest amount the third

 party would pay for care and services furnished by providers other than

 governmental entities, to any individual to the same extent that such individual, or

 any nongovernmental provider of such services, would be eligible to receive


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 damages, reimbursement, or indemnification for such charges or expenses . . . .” 25

 U.S.C. § 1621e(a). The IHCIA further specifies that IHS is the payer of last resort

 for services provided by the agency, notwithstanding any Federal, State, or local

 law. 25 U.S.C. § 1623(b).

                                    OBJECTION

    A. The QSF Trust Violates Applicable Non-Bankruptcy Law

       13.    The QSF Trust violates applicable non-bankruptcy law because it

 contains no provisions to ensure compliance with the MSP law. Specifically, there

 are no requirements to either report or provide the information detailed in

 paragraph 10 above or ensure that HHS is reimbursed for its conditional Medicare

 payments. To address this issue, the United States has provided language for

 insertion into the QSF Trust to the Debtor but has not yet received a response.

       14.    It is unclear if the QSF Trust would actually receive, review, and pay

 any QSF Talc Claims, in which case the reporting requirements are not triggered.

 Funds in the QSF Trust would not be available to the Debtor to address QSF Talc

 Claims until the effective date of a confirmed plan. Motion at ¶ 11. The Funding

 Agreement requires, however, “funding for a trust established for the holders of talc

 claims (a “Talc Trust”) only in connection with a confirmed plan,” Motion at ¶ 9

 (emphasis added), but the Motion does not state whether the QSF Trust is being

 established in connection with a confirmed plan. Thus, it is unclear if the QSF

 Trust for which the Motion seeks approval is the final form of the trust for plan

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 purposes or will be replaced or amended as part of a later plan of reorganization. If

 it is the former, the Court should not approve it unless it contains the United

 States’ requested insert to ensure compliance with the MSP law. If it is not, the

 United State reserves any and all rights with respect to any talc trust established in

 connection with a plan that does actually receive, review, and pay claims.

 B.       The QSF Trust Improperly Excludes Claims of Government Entities

          15.      As noted, the QSF Trust specifically excludes from the definition of

 Talc Claim any claims paid to a government or government entity. The apparent

 purpose for this exclusion is to preserve the tax deductibility of any such payments.

 Motion, Ex. A at 18 (definition of Talc Claim citing 26 C.F.R. § 1.162-21).2

          16.      As of this filing, the United States is endeavoring to determine

 whether it may have Talc Claims. Regardless of whether it does, at this early stage

 of the case, the QSF Trust should not categorically preclude the United States from

 being able to assert such claims against the QSF Trust. Doing so could effectively

 dictate the treatment of those claims in the absence of a disclosure statement or a

 plan and in the earliest stages of this case. Negotiation and consensual action

 leading to a plan is the surest and most efficient way for a bankruptcy case to

 progress, particularly a complex one such as this. Accordingly, the Court should not




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   Neither the Motion nor the QSF Trust Agreement disclose who would claim such deductions; however, it would
 appear to be J&J and New JJCI. Declaration of John S. Kim in Support of First Day Pleadings (ECF No. 5) at ¶ 83
 (stating that establishment of QSF Trust would “benefit the direct or indirect owners of the Debtor by giving rise to
 certain tax benefits”).
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 approve the QSF Trust if it excludes the United States’ claims from the definition of

 Talc Claim.

                                   CONCLUSION

       WHEREFORE, for the foregoing reasons, the Court should deny the Motion

 unless the QSF Trust is modified to include (a) the United States’ requested insert

 regarding MSP claims and (b) the United States’ claims within the definition of Talc

 Claim.

 Dated: February 4, 2022

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                                                Director
                                                MARGARET NEWELL
                                                Assistant Director

                                                /s/ Matthew J. Troy
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                                               America




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of February 2022, I caused a true and

 correct copy of the foregoing Objection to be filed with the Clerk of the Court using

 the CM/ECF system, which will generate electronic notification to all CM/ECF

 participants in these cases.




                                               /s/ Matthew J. Troy
                                               Matthew J. Troy
